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EXHIBIT 2
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1
1 UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
2
Case No. 19-21148-CIV-—-RNS
3
BRYAN BOIGRIS, )
4 )
PLAINTIFF, )
5 )
-V— )
6 )
EWC P&T, LLC, )
7 )
DEFENDANT. ) Miami, Florida
8 ) October 11, 2019
)
9
10 TRANSCRIPT OF DISCOVERY HEARING PROCEEDINGS
11 BEFORE THE HONORABLE EDWIN G. TORRES
12 UNITED STATES MAGISTRATE JUDGE
13
14 Appearances:
15 (On Page 2.)
16
17 Reporter Stephen W. Franklin, RMR, CRR, CPE
(561) 514-3768 Official Court Reporter
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West Palm Beach, Florida 33401
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2

 

1 Appearances:
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FOR THE DEFENDANT Jonathan R. Woodard, ESQ.
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1 What happened was is that they immediately -- not
2 immediately. They -- within a few weeks of him filing his
3 notice of intent to use, they filed their own trademark

4 applications, notwithstanding the fact that we had a predated

5 notice of intent to use. That completely shut down our
6 client's ability to get any sort of financial backing to
7 bring -—-— to go forward with his plans to bring the products to

8 market.

9 Basically, it was -- that receiving a declaration
10 that their actions of filing a trademark application after our
11 notice of intent to use had already been filed was predatory
12 conduct, and we were seeking a declaration that it was
13 improper and that he should be entitled to recover the costs

14 and expenses that he's had in having to fight this process.
15 THE COURT: Okay. And other than the Shopblok-

16 related documents, I guess your primary complaint and damage,
17 then, would be the cost of defense and the prosecution of the

18 PTO action?

19 MR. DEMPSEY: Yeah, and -——

20 THE COURT: Is that the primary damage?

21 MR. DEMPSEY: Primarily, because the -—- we recognize
22 that we will have a claim for damages for lost profits because

23 of them destroying his ability to seek investors and all of
24 that, but frankly, after we reviewed it we knew it was going

25 to be too speculative in terms of measuring those damages, and

 

 

 
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1 so we just didn't bother to seek them. They are real damages,
2 but we just didn't list them as an element, because we knew

3 that a business that's just getting off the ground, just

4 getting started, looking for potential investors, there was
5 serious real damage there, but we know that it will be too

6 speculative for this Court to award damages on that, so

7 THE COURT: And so hen in terms of real or out of

8 pocket damages, wouldn't the cost of any litigation, then, for

9 the PTO be potentially recoverable if your claim succeeds?

10 MR. DEMPSEY: That's what we -- that's our position
11 on damages, yes.

12 THE COURT: And so then you didn't have to produce
13 those? The -- I guess the time records and/or bills, invoices

14 that were incurred or costs incurred in connection with that
15 process?

16 MR. DEMPSEY: Yeah. Yes, Your Honor.

17 I think, though, that for the purposes of not

18 revealing what the litigation strategy was and things like
19 that, we can produce them in redacted form that -- so they
20 don't show exactly what we were doing, and the unredacted
21 versions could be reviewed after we prevail on the Court
22 action.

23 It would be similar to a claim for seeking of

24 attorney's fees and costs.

29 THE COURT: But in this case, though, it's an

 

 

 
